Case 1:23-cr-00077-UNA Document1 Filed 08/02/23 Page 1 of 14 PageID #: 1

AO 91 (Rev. LI/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Delaware

United States of America
Vv.
Case No.

2» 3354

David Morrison, Jr.

Defendant(s)
CRIMINAL COMPLAINT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of duly 20 - August 1, 2023 in the county of Kent in the
District of Delaware _ , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. §§ 2252A(a)(1), (a)(2) Transportation, Receipt, and Possession of Child Pornography

and (a)(5)(B), and (b)(1) and (b)(2).

This criminal complaint is based on these facts:

See attached affidavit

# Continued on the attached sheet.

/s/ Sean Downey

Complainant's signature

Sean Downey, Special Agent, HSI

Printed name and title

Sworn to before me over the telephone and signed by me pursuant to Fed R. Crim. P.4.1 and 4(d).

Wilmington, DE Hon. Sherly-S--allon, U.S, Magistrate Judge

City and state: ae
Printed name and title

Case 1:23-cr-00077-UNA Document1 Filed 08/02/23 Page 2 of 14 PagelD #: 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,

Plaintiff
v. : Criminal Action No. 23-

DAVID MORRISON,

Defendant.

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Sean Downey, a Special Agent with the United States Department of Homeland Security,
Homeland Security Investigations (“HSI”), Dover, Delaware office, being duly sworn, depose and

state as follows:

INTRODUCTION

1. I am a Special Agent with HSI and have been so employed since 2010. | am
currently assigned as the HS] Resident Agent in Dover, Delaware and am additionally assigned to
the Delaware Child Predator Task Force, which includes the Delaware Internet Crimes Against
Children Task Force. I have extensive experience in numerous investigative disciplines to include
international trafficking of military-grade exports, child exploitation, cyber-based investigations,
financial crimes, identity theft, narcotics investigations, and fraud. I have significant experience
as botha primary case agent and undercover operative in counter proliferation, online and darknet-
related investigations. | have directed multi-agency, classified-level investigations spanning many

countries across multiple continents that required coordination across several international entities
Case 1:23-cr-00077-UNA Document1 Filed 08/02/23 Page 3 of 14 PagelD #: 3

and U.S. Department of Defense Unified Combatant Commands. I have directed investigations
involving multiple foreign government entities and international organizations, including
INTERPOL, among others. In addition, f have directed and coordinated dozens of international
investigations focused on foreign-based transnational criminal organizations engaged in human
trafficking, child exploitation, child pornography, and human smuggling. 1 have received
substantial training related to counter-proliferations, child exploitation, narcotics trafficking,
cryptocurrency analysis, darknet vendors, cyber smuggling, undercover operations, illicit
procurement networks, interviewing techniques, surveillance and counter-surveillance techniques,
and multiple other criminal investigator-related facets. I have been assigned to the HSI Dover
since 2018. Prior to my assignment in Dover, I was assigned to HSI San Diego, California. Prior
to my career as a HSI Special Agent, | was a federal law enforcement officer for approximately
three years and was assigned to posts in Florida and Washington, D.C.

2. Asa federal agent, I am authorized to investigate violations of laws of the United
States, including Title 18, United States Code, Sections 2252A(a}(1), (a2), and (a)(5)(B)
(Transportation, Receipt, and Possession of Child Pornography).

3. I am the case agent assigned to the investigation of David MORRISON
(“MORRISON”), whom the government is investigating for crimes involving the transportation,
receipt, and possession of child pornography. The facts in this affidavit come from my own
personal observations, training and experience, and information obtained from other agents and
witnesses. This affidavit is intended to show merely that there is sufficient probable cause for the
requested warrant and does not set forth all my knowledge about this matter. I have not, however,
knowingly withheld any fact necessary to a determination of probable cause.

4, In this Affidavit, I set forth facts sufficient to show that there is probable cause to
Case 1:23-cr-00077-UNA Document1 Filed 08/02/23 Page 4 of 14 PageID #: 4

believe that between on or about July 20, 2023 and August 1, 2023, MORRISON committed
violations of Title 18 United States Code, Sections 2252A(a)(1), (a)(2), and (a)(5)(B)
(Transportation, Receipt, and Possession of Child Pornography) in the District of Delaware.
Specifically, there is probable cause to believe MORRISON possessed child pornography prior to
entering Delaware; that he transported his collection of child pornography into Delaware; and that
he received and possessed additional child pornography while in Delaware.
CYBERTIPS

5. The National Center for Missing and Exploited Children (‘NCMEC”) runs a
cybertipline. It is the nation’s centralized reporting system for the online exploitation of children.
The public and electronic service providers can make reports of suspected online enticement of
children for sexual acts, child sexual molestation, child sexual abuse material, child sex tourism,
child sex trafficking, unsolicited obscene materials sent to a child, misleading domain names, and
misleading words or digital images on the internet. The NCMEC then utilizes the information
compiled by the providers to refer the tip out to the appropriate law enforcement agency.

STATEMENT OF PROBABLE CAUSE

6. MORRISON is a 49-year-old male who resides in North Carolina. He works as a
long-haul trucker, however, and is thus away from home often and for long periods of time. He is
married and through that marriage, has a minor stepdaughter. The stepdaughter is currently 14
years old. MORRISON has been the subject of approximately 13 cybertips for suspected child
pornography uploads since early 2021. On May 18, 2023, MORRISON was the subject of yet
another cybertip. HSI in Greensboro, North Carolina eventually received and investigated this
recent tip. During investigation, HSI Greensboro learned that MORRISON was in Delaware

temporarily for work. HSI Greensboro referred the case to HSI Dover on July 25, 2023.
Case 1:23-cr-00077-UNA Document1 Filed 08/02/23 Page 5 of 14 PagelD #: 5

I. Origin of Investigation: Initial Cybertip

7. In March 2021, the North Carolina State Bureau of Investigations (“NCSBI”)
received a cybertip from the NCMEC. The tip (“Cybertip #1”!') was provided by Google and
received by the NCMEC on February 25, 2021. Per the report, Google user “Truckin’ Daddy”
with date of birth 04/05/1974 and email accounts “DRonanM74@gmail.com” and
“DruidLorrd 1@gmail.com” uploaded one video file to Google Photos on February 24, 2021.
According to Google, the user linked the accounts to phone number (336) 221-4024 (among other
phone numbers”). A review of the video file shows it is a 45 second video of a minor girl,
approximately 8-10 years old, performing oral sex on an erect male penis.

8. There were a significant number of IP addresses listed as having accessed the
Google accounts. The IP addresses spanned the country. A subpoena for one of the IP addresses’,
however, returned pertinent subscriber information. The IP address was registered to Helen
Guerrero at 5207 Woodlane Drive in Julian, North Carolina. Later investigation would uncover
that Helen Guerrero is MORRISON’S mother-in-law and that she does, in fact, live at 5207
Woodlane Drive, and that MORRISON, his wife, and stepdaughter all lived with Guerrero at
Woodlane Drive until May 2021; thus, they lived there at the time of Cybertip #1.

9. NCSBI referred the case to the Guilford County Sheriffs Office (“Sheriff's

Office”) for further investigation. It appears that investigation stalled, however, until 2022.

!NCMEC Tip No. 87005165.

2 A couple numbers come back to MORRISON’ s wife, to MORRISON in recent years, and at least
one appears to be a random number. Pen register/trap and trace information confirms, however,
that the number listed herein is associated with MORRISON himself, based on incoming text
messages received.

3 99,125.172.86 on 12/17/2020 at 09:02:00 hrs. ET. This was the most recent 1P address that
appeared most likely to result in an identification. The other IP addresses appear to be IPV6’s,
which are difficult to navigate, or VPNs, which are likewise difficult to navigate.

4
Case 1:23-cr-00077-UNA Document1 Filed 08/02/23 Page 6 of 14 PagelD #: 6

II. Resurgence of Investigation: Subsequent Cybertips

10. ‘In April 2022, the Sheriff’s Office received a second cybertip from the NCMEC
(“Cybertip #2”*). This tip was dated April 25, 2022 and was submitted by Google. Per the report,
Google user “David Morrison,” with email accounts “RonanDM47@gmail.com” and
“DruidLorrd1@gmail.com” stored numerous suspected images of child pornography in their
online platform.

11. Cybertip #2 also flagged that several of the images reported were associated with
two additional cybertips (“Cybertip #3”5 and “Cybertip #4”°). The Sheriff’s Office thus reviewed
the additional cybertips. According to Cybertip #3, which was also dated April 25, 2022, Google
user “David Morrison,” with e-mail accounts “RonanDM47@gmail.com” and
“DruidLorrd 1@gmail.com" uploaded 14 suspected child pornography files to theiraccount. Your
Affiant reviewed the files and confirmed the presence of child pornography. Two examples are
described below:

¢ File report_13323783137650440716: image depicting a post-pubescent girl,
approx. 12 years old, laying on her back on what appears to be a bed. The child
is wearing black shorts, with no undergarments. An adult hand, likely male
based on hair structure, is pulling the shorts to the side to expose a clear view
of the child’s genitalia. The child is topless, with breasts visible.

o Based on the date provided by Google (creation date—11/24/21—and
device information), this image appears to be first generation, that is, it
appears the user from the cybertip actually took this photo, and thereby
produced the CSAM.

e File report_6843503217350342421: image depicting a young girl, approx. 6-
8 years old, laying on her back on what appears to be a bed. The child is fully

nude from the waist down, with genitalia visible. An adult male is inserting the
tip of his exposed penis into the child’s vagina.

4 NCMEC Tip No. 123141130.
5 NCMEC Tip No. 123104013.
6 NCMEC Tip. No. 123140571.
Case 1:23-cr-00077-UNA Document1 Filed 08/02/23 Page 7 of 14 PagelD #: 7

12. According to Cybertip #4, also dated April 25, 2022, Google user “Truckin’

Daddy,” with e-mail accounts “DRonanM74@gmail.com” and “DruidLorrd1@gmail.com”

uploaded approximately three suspected child pornography images on April 25, 2022. Your

Affiant reviewed the files and while they do not contain child pornography, they are pertinent to

the investigation. Descriptions of the three files are as follows:

File report_13734418094629753521: image depicting a young girl, approx.
six years old, fully clothed, standing in a store next to a “My Little Pony” sign.
From Your Affiant’s viewing, the child appears to be MORRISON’S
stepdaughter as a young child.

File report_10645436001242227944: image depicting an adult male taking a
selfie in what appears to be a bathroom. His face is fully visible and thus Your
Affiant was able to identify him as MORRISON.

File report_9202194059666972895: image depicting two females in a bathtub,
both completely nude. The first is a heavy-set, adult female; Your Affiant
identified this person as MORRISON’S wife. The second is a post-pubescent
girl who appears to be 10 years old. Your Affiant was able to identify the girl
as MORRISON’S stepdaughter. The wife is smiling at the camera; the
stepdaughter has her head resting back against the wall and simply looking at
the camera with a blank stare. Her breasts are exposed and visible.

o Basedon date of birth, the stepdaughter would have been nine years old
in this picture.

13. Each of the cybertips reviewed by the NCSBI and loca! sheriff’s office shared the

same phone number (336-221-4024) and date of birth (04/05/1974) for the user. They also shared

the same e-mail addresses. Based on this identifying information contained in the cybertips, the

Sheriff’s Office reviewed North Carolina DMV records, which readily identified that David

Dunbar Morrison, Jr. resides at the Woodlane Road Address (attributed to one of the IP addresses

in Cybertip #1, see para. 7) and that his birthday is 04/05/1974, the birthdate contained in each

cybertip. Your A ffiant also confirmed via law enforcement indices that the phone number in the
Case 1:23-cr-00077-UNA Document1 Filed 08/02/23 Page 8 of 14 PagelD #: 8

cybertips is associated with MORRISON. In particular, MORRISON has been registered to that
phone number since 1995.7 It is also the contact phone number he provided his employer.

14. | With respect to the remaining nine cybertips, they each likewise contain clear
identifiers to MORRISON—his fullname, DOB, phone number, and/or the e-mail addresses. Your
Affiant reviewed all remaining nine cybertips, and eight of the nine contained child pornography,
as that term is defined under federal law. The ninth did not contain child pornography, but it
contained clothed images of MORRISON and his stepdaughter, further solidifying MORRISON
as the user of the accounts and subject of the cybertips. The timeline of the 13 cybertips is as
follows:

a. February 25, 2021: one cybertip
b. April 25, 2022: six cybertips

c. April 26, 2022: three cybertips
d. April 27, 2022: one cybertip

e. May 16, 2022: one cybertip

f. May 18, 2023: one cybertip

7 Subpoena records indicate that around 2017, the billing information changed to MORRISON’S
wife’s name, This would make sense. Your Affiant did confirm, however, through pen/trap
information that MORRISON is the user of the device. For example, MORRISON received the
following recent text messages:

- 05/04/2023: "Hi DAVID, this is Capital One regarding your auto loan ending in 2447...”
- 05/30/2023: "Your truck is ready for checkout...”

- 06/16/2023: "Drivers need to be productive. If production is slow due to Walmart, this
needs to be communicated by driver to Fleet Manager.”

The content of these communications—MORRISON’S first name and trucking-related topics—
confirm MORRISON is the user of this phone number, not his wife.

7
Case 1:23-cr-00077-UNA Document1 Filed 08/02/23 Page 9 of 14 PagelD #: 9

15. As indicated above, the most recent three cybertips were submitted by Verizon.

The Sheriff’s Office received one of these cybertips from the NCMEC (“Cybertip #5 in this

Affidavit’) on April 27, 2022. Per the report, a Verizon user with MORRISON’S phone number

attempted to upload four media files depicting child pornography to their Verizon account. Your

Affiant reviewed the files and confirmed they contain child pornography. A description of one of
the files is as follows:

e File 921f38fe868f479ebd4a3el00a3f394_5b7682b8aca6ba372ecdb: image

depicting a young girl, approx. six years of age, fully nude. The child is laying

on her back with arms resting behind her head: her face, breasts, and genitalia
are fully exposed and visible.

16. In May 2022, the Sheriff’s Office received another cybertip from the NCMEC
(“Cybertip #6 in this Affidavit”®) that was submitted by Verizon. Per the report, a Verizon user
with MORRISON’S phone number attempted to upload one media file depicting child

pornography to their account. Your Affiant reviewed the file and confirmed it contains child
pornography. The file is described as follows:

e File 921f38fe868f479ebd4a3e100a3f394_c2187076cce76904d03d5: image
depicting a young girl, approx. 10-12 years of age laying in what appears to be
a green-colored blanket ina field. The child is fully nude from the waist down
with her genitalia fully exposed and visible; she is wearing a red top and her
face is exposed. The child is making a “shh” sound with her finger over her
lips. The image contains an imprint or watermark in the top right corner that
states, “Last Virgins.”

17. InMay 2023, the Sheriff’s Office received the thirteenth cybertip from the NCMEC

(“Cybertip #7 in this Affidavit”!°), submitted by Verizon. Per the report, a Verizon user with

8 NCMEC Tip No. 123335461.
9 NCMEC Tip No. 125170020.
10 NCMEC Tip No. 162398879.
Case 1:23-cr-00077-UNA Document 1 Filed 08/02/23 Page 10 of 14 PagelD #: 10

MORRISON’S phone number attempted to upload eight media files depicting child pornography
to their account. Your Affiant reviewed the files and confirmed they contain child pornography.
A description of just two of the files is below:

e File 921f38fe868f479ebd4a3e100a3f394_600fceS277f81 1ea0864a33: file isa
thirty-three (33) second video with sound. A fully nude female infant is on the
lap of an adult male with an erect penis. The adult male is rapidly penetrating
the child’s vagina with his penis. The child is loudly crying in what sounds like
pain throughout the film.

e File 921f38fe868f479ebd4a3el100a3f394_7d21b5901 bb8bc4f4e068: file is a
thirty-three (37) second video with sound. A nude female toddler is laying on
her back with vagina and anus visible. An adult male with an erect penis is
rapidly penetrating the child’s anus with his penis. The child is loudly crying
in what sounds like pain throughout the film.

III. Current Investigation

18. Areview of the “Device ID” information from various subpoena return records and
the cybertips indicates that MORRISON hashad at least two devices assigned to the 336-221-4024
phone number throughout the cybertip time period. The current device appeared to be a Motorola
Edge 5G, IMEI No. 355210751850823. This device was activated on or about July 18, 2022.
Prior to this, the device appears to have been a Motorola Edge with IMEI No. 359120100749145.

19. On July 27, 2023, Your Affiant confirmed with another law enforcement officer
that MORRISON was currently under contract with Anderson Trucking Services (ATS) as a
commercial truck driver, assigned to run loads for the Walmart distribution center in Smyma,
Delaware.

20. On July 27, 2023, Your Affiant obtained a search warrant'! from the Honorable

Sherry R. Fallon, U.S. Magistrate Judge, for the Verizon cloud account associated with

MORRISON’S phone number (336-221-4024). Your Affiant executed the warrant the same day.

1! Case No. 23-330M.
Case 1:23-cr-00077-UNA Document 1 Filed 08/02/23 Page 11 of 14 PagelD #: 11

Verizon responded on August 1, 2023. Your A ffiant briefly reviewed the information provided by
Verizon and observed approximately 10-12 files depicting child pornography. Several of the
images are the same ones noted in the cybertip; for example, file numbers ending in 0716 and
2421, described in paragraph 10, supra. There were also additional images in The Account not
associated with previous cybertips; for example, one file titled “Penetration Training (1)” in which
an image depicts a sleeping female toddler with her diaper removed and genitalia clearly visible.
A penis-shaped dildo is inserted into the tip of her vagina/labia region. Metadata review indicates
the image was uploaded on or about July 5, 2022. Your A ffiant further observed non-pornographic
images depicting MORRISON’S stepdaughter in The Account.

21. On July 28, 2023, Your Affiant obtained search warrants from the Honorable
Sherry R. Fallon, U.S. Magistrate Judge, for MORRISON’S truck and person.'? Your Affiant
executed those warrants on August 1, 2023. A search of MORRISON’S truck and person yielded
two cell phones, two laptops, and a tablet. Of the five devices, only one cell phone—the Motorola
Edge 5G belonging to MORRISON described in Paragraph 17—was powered on. Your Affiant
did a preliminary review of this device and uncovered, ina locked folder within the Photo Gallery,
approximately 30 images and videos depicting child pornography. The files are dated anywhere
from 2018 through July 28, 2023. By way of example, just three of the files are described below:
e File Name “I24.mp4.” Dated 12/29/2022. This video file is approx. twenty (20)
seconds in length and is clearly an excerpt of a larger file. The video depicts a
fully nude adult male and female on a bed engaging in sexual acts with a nude

toddler-aged boy. Sex acts include oral sex and digit penetration.
e File Name “068e2091-34F0-4895-942D-6A88353CDCE.” Dated 03/12/2023.
This image file depicts a female child, approx. ten (10) years of age, fully nude
sitting in an office-style chair. The child’s undeveloped chest/breast and genitalia

are fully visible. Male semen/ejaculate is clearly visible on her body ranging from
chest area to vagina.

12 Case Nos. 23-332M and 23-333M.
10
Case 1:23-cr-00077-UNA Document 1 Filed 08/02/23 Page 12 of 14 PageID #: 12

e File Name “IMG _20230225-WA0001.” Dated 07/28/2023 (in Delaware). Image
file depicts female child, approx. ten (10) years of age, wearing an orange-colored
shirt. The child is fully nude from the waist down with genitalia clearly visible; an
erect male penis is penetrating the child’s vagina.

22. In executing the search warrant upon the truck, law enforcement encountered
Athena Morrison, MORRISON’S wife, who was inside the truck (“Mrs. Morrison”). Law
enforcement personnel interviewed Mrs. Morrison, who consented to speak with law enforcement.
She stated she was not surprised by the allegations against her husband pertaining to child
pornography. Specifically, she confirmed that he does, in fact, view child pornography and
informed law enforcement of two apps on his phone that he uses to obtain his child pornography.
She further confirmed that she has seen previously on MORRISON’S phone thechild pornography
that is currently in the cloud Account.

23. Lastly, MORRISON himself was also interviewed. After voluntarily waiving
Miranda, MORRISON admitted that the e-mail accounts from the cybertips are his. He also
admitted specifically to the bathtub picture of his stepdaughter, described in Paragraph 11, supra.
He further admitted that he obtains child pornography by way of receipt from other individuals.'3
He specifically noted the social media apps he uses to receive child pornography from other users.
At least one of the apps is the same one indicated by Mrs. Morrison in her separate interview.
MORRISON further confirmed that he entered Delaware on or about July 20, 2023 from out of
state.

SUMMARY

24. In summary, there is probable cause to believe MORRISON engaged in the

13 He claimed he engages in the receipt of child pornography in order to help law enforcement
catch the bad guys. He has never, to our knowledge, reported any of the users he interacts with.

11
Case 1:23-cr-00077-UNA Document 1 Filed 08/02/23 Page 13 of 14 PagelD #: 13

transportation, receipt, and possession of child pornography for the following reasons:
a. MORRISON has been the subject of 13 NCMEC cybertips since 2021, all tied to
him by way of phone number, date of birth, name, e-mail addresses, or a
combination thereof. Your Affiant reviewed each cybertip and confirmed the
presence of child pornography in 11 of the 13. The remaining two contained images
of MORRISON and his stepdaughter.

b. The phone number in every cybertip is the same (336-221-4024) and comes back
to MORRISON based on subpoena records.

c. Your Affiant confirmed the current presence of child pornography in the account
associated with MORRISON’S phone number. Your A ffiant further confirmed that
some of those files have been present in The Account since at least 2021 and are
the same files depicted in the cybertips.

d. In The Account, Your Affiant observed images of MORRISON’S stepdaughter,
further confirming MORRISON’S current possession of The Account.

e. MORRISON’S wife confirmed having seen the child pornography discovered in
The Account on MORRISON’S device.

f. Images depicting child pornography were found on MORRISON’S physical device
on August 1, 2023. The dates of the images range from 2018 through July 28, 2023.

g. MORRISON entered Delaware from out of state on or about July 20, 2023.
h. MORRISON admitted to receiving child pornography.
CONCLUSION
25. Based on the facts set forth herein, there is probable cause to believe MORRISON
possessed child pornography in the District of Delaware, and further that he transported his child
pornography into Delaware from out of state, and received and possessed additional child
pornography while in Delaware. There is thus probable cause to believe MORRISON violated

Title 18, United States Code, Sections 2252A(a)(1), (a)(2), and (a)(5)(B). I therefore respectfully

request the court issue a complaint against MORRISON for the alleged offenses.

12
Case 1:23-cr-00077-UNA Document1 Filed 08/02/23 Page 14 of 14 PagelD #: 14

/s/ Sean Downey

Sean Downey

Special Agent

Homeland Security Investigations

. FALLON
MAGISTRATE JUDGE

UNITED SNATES

13
